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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

  STATE OF MISSOURI ET AL                             CIVIL ACTION NO. 3:22-cv-1213

  VERSUS                                              JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                             MAG. JUDGE KAYLA D. MCCLUSKY

                             JUDGMENT ON MOTION TO STAY

          For the reasons set forth in the Memorandum Ruling on Motion to Stay,

          IT IS ORDERED, ADJUDGED, AND DECREED that the definition of “protected free

   speech” in the Memorandum Ruling [Doc. No. 294, at p.4, n.3] shall be amended to read as

   follows:

                 “Protected free speech” means speech which is protected by the Free
                 Speech Clause of the First Amendment of the United States
                 Constitution in accordance with the jurisprudence of the United
                 States Supreme Court.

          IT IS FURTHER ORDERED that the Defendants’ Motion to Stay Preliminary Injunction

   Pending Appeal, and Alternatively, for Administrative Stay [Doc. No. 297] is DENIED.

          MONROE, LOUISIANA, this 10th day of July 2023.



                                                      ____________________________________
                                                      TERRY A. DOUGHTY
                                                      UNITED STATES DISTRICT JUDGE
